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wEsTERN DISTRICT 0F TENNESSEE 05
Western Division JUL l 2 PH 5= 740
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UNITED sTATEs oF AMERICA W/§ !j,g §_
-v- Case No. 2:05cr20213-02Ml
DARRELL sTALLINGs
ORDER SETTING

COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom #5 on Wednesday, July 20, 2005, at 9:30am.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
comrnunity, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 Execute a bond in the amount of $10,000.00 or an agreement to forfeit upon failure to appear as required,
and post with the following amount of money to be deposited into the registry of the Court: 10%.

0 report as directed by the Pretrial Services Office.
0 Maintain or actively seek employment
0 Abide by the following restrictions on personal association, place of abode, or travel: Defendant is restricted

in residence and travel to the Western District of Tennessee.

0 Refrain from possessing a fireann, destructive device, or other dangerous weapon.

Ao 199.¢\ order seeing candmonsofaelease Th|s document entered nn the docket sheet in oompl'”"""`
with F|ule 55 and/or 32(b) FRCrP on ' 'O

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0 Refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §
802, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

0 Submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing

0 Participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage of the fee as determined by Pretrial Services.

0 Other: Maintain a stable residence..

ADV|CE OF PENALT|ES AND SANCTIONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a wimess, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victirn, juror, informant or officer of the court. The
penalties for tampering retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. ln addition, a failure to appear may result in the forfeiture of any bond posted.

AO 199A Order Setting Conditions of Re|ease -2-

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ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that I am aware of` the conditions ofrelease. I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. l am aware

of the penalties and sanctions set forth above.
/ , ' /
,»"

SirgnHir'e/of Defendant

  

Darrell Stallings

C/o Gloria Durr
Wildrose St:reet
Memphis, TN 38114
(901) 744-2675

DlRECT|ONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Dare: July 12, 2005 52 2 g 4 ,_,4 g K, C:JQUA%'

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

\Q|'_'|

AO 199A Order Setting Conditions of Re|ease -3-

 

    

UNITED sTATE DISTRIC COURT - WESTERN DSTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthc document docketed as number ll in
case 2:05-CR-202]3 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed

 

 

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

